Plaintiffs’ Unopposed Motion for Final Approval
of the Settlement, Certification of the Settlement
Class, and Incorporated Memorandum of Law




                                   Exhibit 1
                       Settlement Agreement and Release




          In re: The Home Depot, Inc. Customer Data Security Breach Litigation
                   This Document applies to Financial Institution Cases
                         U.S.D.C., N.D. Georgia, Atlanta Division
                          Civil Action No. 1:14-md-02583-TWT
Exhibit 1 to the Settlement Agreement
      Exhibit 1 to the Settlement Agreement between Home Depot and the Financial
      Institution Plaintiffs: Distribution Plan for the $25,000,000 Settlement Fund

1.       Definitions. Terms defined in the Settlement Agreement to which this document is
an exhibit are incorporated herein by reference. In addition, as used herein, the terms set
forth in this section in boldface type will have the meaning described below. Additional terms
are defined at various points in this Distribution Plan.

       1.1    Claim Referee. This term means a person selected by the Parties to handle certain
              disputes relating to claims. A Claims Referee need not be selected or approved
              until and unless a dispute arises that cannot otherwise be resolved pursuant to the
              procedure set forth in Section 5 below.

       1.2    Claimed-On Account. An account involving an Alerted-on Payment Card or
              Compromised Payment Card that is (a) eligible for compensation under the
              Settlement and (b) was issued by a Settlement Class Member that submits a claim
              relating to such account.

       1.3    Claimed-On Account Costs. Fraud reimbursement charges for Compromised
              Payment Cards and payment card reissuance costs associated with a Settlement
              Class Member’s Alerted-on Payment Cards or Compromised Payment Cards that
              the Settlement Class Member incurred between September 1, 2014 and December
              31, 2014 and that have not been reimbursed, through the Visa Global
              Compromised Account Recovery program or the MasterCard Account Data
              Compromise program, or any issuer reimbursement program administered by
              Discover or American Express, plus any other costs that a Settlement Class
              Member contends it incurred as a result of the Data Breach between September 1,
              2014 through December 31, 2014. Settlement Class Members may not recover
              fraud reimbursement charges for accounts that were not used to make purchases at
              Home Depot during the period from April 10, 2014 to September 13, 2014 on a
              self-checkout kiosk where the malware that gave rise to this Data Breach was
              present even if the cards were identified in alerts issued by Visa, MasterCard,
              Discover or American Express.

       1.4    Disputed Claim. This term has the meaning set forth in Section 5.1.

       1.5    Distribution Fund. This term has the meaning set forth in Section 4.1

       1.6    Documented Damages Award. This term has the meaning set forth in Section
              2.2.

       1.7    Documented Damages Issuer. This term has the meaning set forth in Section
              2.2.

       1.8    Documented Damages Issuer Total. This term has the meaning set forth in
              Section 4.3.2.



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       1.9    Fixed Payment Award. This term has the meaning set forth in Section 2.1.

       1.10   Issuer Reimbursement Assessment Amount. The amount if any that a
              Settlement Class Member has received or is entitled to receive, directly or
              indirectly, with respect to its Claimed-On Accounts by reason of the Data Breach
              pursuant to the Visa Global Compromised Account Recovery program, the
              MasterCard Account Data Compromise program, or any issuer reimbursement
              program administered by Discover or American Express.

       1.11   Maximum Potential Claim Amount. This term has the meaning set forth in
              Section 4.3.1.

       1.12   Post-Fixed Payment Remainder. This term has the meaning set forth in Section
              4.2.

       1.13   Supplemental Remainder. This term has the meaning set forth in Section 4.4.1.

2.      Claims. All Settlement Class Members that submit a valid Settlement Fund Claim Form
and properly complete Part I of the form are eligible to receive a Fixed Payment Award without
proof of their Claimed-On Account Costs. In addition, Settlement Class Members that submit a
valid Settlement Fund Claim Form, properly complete Part II of the form, and provide
documentation of their Claimed-On Account Costs less any Issuer Reimbursement Assessment
Amounts for those Claimed-On Accounts are eligible to receive a Documented Damages Award.

       2.1    Fixed Payment Awards. A Settlement Class Member can seek a fixed payment
              based on the number of Alerted-on Payment Cards that the Settlement Class
              Member issued. To be eligible to receive a Fixed Payment Award, a Settlement
              Class Member must submit a valid Settlement Fund Claim Form and properly
              complete Part I of the form. Settlement Class Members do not need to submit
              evidence of costs that they incurred with respect to their Claimed-On Accounts or
              of their Issuer Reimbursement Assessment Amounts in order to be eligible to
              receive a Fixed Payment Award. Each Settlement Class Member that submits a
              valid Settlement Fund Claim Form and properly completes Part I of the form will
              be eligible for (1) a payment in the amount of $2.00 per Alerted-on Payment Card
              issued by such Settlement Class Member, subject to a potential pro rata reduction,
              as described below (“Fixed Payment Award”); and (2) a possible additional
              supplemental payment if funds remain in the Settlement Fund after (a) any taxes
              have been paid and Service Awards have been paid; (b) all Fixed Payment
              Awards have been paid, and (c) all Documented Damages Awards have been
              paid.

       2.2    Documented Damages Awards. A Settlement Class Member can seek an
              additional award based on its total Claimed-On Account Costs and Issuer
              Reimbursement Assessment Amount (each such Settlement Class Member being
              referred to as a “Documented Damages Issuer” and the amount of the additional
              award being referred to as a “Documented Damages Award”). A Documented
              Damages Issuer will need to submit evidence of its Claimed-On Account Costs


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           and evidence of its Issuer Reimbursement Assessment Amount (if any) to be
           eligible for a Documented Damages Award. As set forth in more detail below,
           the award ultimately received by any particular Documented Damages Issuer that
           submits a valid claim for a Documented Damages Award will be subject to a
           potential pro rata reduction, depending on the total value of the Documented
           Damages Awards and the total amount of Fixed Payment Awards. Documented
           Damages Issuers are also eligible for a possible additional supplemental payment
           if funds remain in the Settlement Fund after any taxes, Service Awards, and all
           Fixed Payment and Documented Damages Awards have been paid.

     2.3   Claim Form. The Settlement Fund Claim Form to be used by Settlement
           Class Members seeking Fixed Payment Awards and Documented Damages
           Awards is attached as Exhibit A. To receive a Fixed Payment Award, Settlement
           Class Members must complete and sign Part I of the Settlement Fund
           Claim Form. Settlement Class Members that choose to submit a claim for a
           Documented Damages Award must also complete and sign Part II of the
           Settlement Fund Claim Form and submit reasonable documentation as specified
           in the S e t t l e m e n t F u n d Claim Form.

3.   Claim Validation Process

     3.1   All Settlement Fund Claim Forms must be submitted in the manner and by
           the deadline specified in the Settlement Agreement.

     3.2   The Settlement Administrator will begin evaluating timely submitted Settlement
           Fund Claim Forms on or after the Effective Date. The Settlement Administrator
           may require supplementation of a Settlement Fund Claim Form or additional
           information necessary to validate or audit a claim. To the extent that a Settlement
           Class Member fails to provide any supplementation or additional information so
           requested, the Settlement Administrator may determine that the Settlement Class
           Member failed to submit a valid claim and therefore reject that claim.

     3.3   Claims for Fixed Payment Awards

           3.3.1 The Settlement Administrator, in its discretion to be reasonably exercised,
                  will evaluate claims submitted for Fixed Payment Awards to determine
                  whether: a) the claimant is a Settlement Class Member; b) Part I of the
                  Settlement Fund Claim Form is complete and accurate; and c) the
                  Settlement Class Member signed the Settlement Fund Claim Form as
                  required.

     3.4    Claims for Documented Damages Awards

           3.4.1 The Settlement Administrator, in its sole discretion to be reasonably
                  exercised, will evaluate claims for Documented Damages Awards to
                  determine whether: a) the claimant is a Settlement Class Member; b) Part
                  II of the Claim Form is complete and accurate; c) the Settlement Class


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                    Member signed the Settlement Fund Claim Form as required; and d) the
                    claimant provided the information needed to evaluate the validity of the
                    claim for a Documented Damages Award.



             3.4.2 The Settlement Administrator’s determination of each Settlement Class
                    Member’s award will be final, subject to the dispute resolution process in
                    Section 5 below.

4.      Distribution of the Settlement Fund. Following the Claim Validation Process, the
Settlement Administrator will distribute the Settlement Fund as follows:

      4.1    Funds Available for Distribution to Settlement Class Members. The amount
             of the Settlement Fund available for distribution to Settlement Class Members
             (the “Distribution Fund”) shall equal (i) the amount of the Settlement Fund, less
             (ii) any taxes and Service Awards as further described in the Settlement
             Agreement.

      4.2    Payment of Fixed Payment Awards. Each Settlement Class Member that
             submits a valid claim will receive a Fixed Payment Award equal to $2.00 per
             Claimed-On Account issued by the Settlement Class Member, provided that the
             Distribution Fund is greater than or equal to $2.00 multiplied by the total number
             of eligible Claimed-On Accounts validly claimed by Settlement Class Members.
             Any amount remaining in the Distribution Fund after payment of Fixed Payment
             Awards is the “Post-Fixed Payment Remainder.” In the event that the
             Distribution Fund is less than $2.00 multiplied by the total number of such
             Claimed-On Accounts, each Settlement Class Member that filed a valid claim will
             receive a pro rata share of the Distribution Fund based on the number of Claimed-
             On Accounts issued by the Settlement Class Member as compared to the total
             number of Claimed-On Accounts issued by all Settlement Class Members that
             filed valid claims for a Fixed Payment Award.

      4.3    Payment of Documented Damages Awards. Documented Damages Awards for
             Documented Damages Issuers that submit valid claims will be paid from the Post-
             Fixed Payment Remainder and determined as follows:

             4.3.1 The Settlement Administrator will determine each Documented Damages
                    Issuer’s “Maximum Potential Claim Amount,” which, for each
                    Documented Damages Issuer that submitted a valid claim, is the amount
                    equal to (i) the sum total of the Documented Damages Issuer’s Claimed-
                    On Account Costs; (ii) reduced by $2.00 per Claimed-On Account
                    reflecting the Fixed Payment Award for which it is eligible; (iii) further
                    reduced by forty percent (40%); and (iii) further reduced by the
                    Documented Damages Issuer’s Issuer Reimbursement Assessment
                    Amount (if any). In the event that a claim for a Documented Damages
                    Award is less than $0.00, which could occur for example if a


                                             4
                  Documented Damagers Issuer had received an Issuer Reimbursement
                  Assessment Amount that exceeds 60 percent of the alleged documented
                  damages, the Documented Damage Issuer’s Maximum Potential Claim
                  Amount shall be $0.00. The Maximum Potential Claim Amount for any
                  Documented Damagers Issuer that fails to submit a valid claim for a
                  Documented Damages Award shall be $0.00.

           4.3.2 If the aggregate total of all Documented Damages Issuers’ Maximum
                  Potential Claim Amounts (the “Documented Damages Issuer Total”) is
                  less than the Post-Fixed Payment Remainder, then each
                  Documented Damages Issuer will be paid its Maximum Potential
                  Claim Amount.

           4.3.3 If the aggregate total of all Documented Damages Issuers’ Maximum
                  Potential Claim Amounts is greater than the Post-Fixed Payment
                  Remainder, then each Documented Damages Issuer that submits a valid
                  claim for a Documented Damages Award will be paid its pro rata share
                  of the Post-Fixed Payment Remainder based on the amount of its
                  Maximum Potential Claim Amount in comparison to the total
                  amount of the Post-Fixed Payment Remainder. If there is no
                  Post-Fixed Payment Remainder, Documented Damages Awards
                  will be zero.

           4.4.1 If after payment of the Fixed Payment Amounts and the Documented
                  Damages Awards the Distribution Fund is not exhausted, then the
                  remaining amounts (the “Supplemental Remainder”) will be distributed
                  pro rata to all Settlement Class Members that submitted a valid
                  Settlement Fund Claim Form based on the number of Claimed-On
                  Accounts that they issued.

5.   Dispute Resolution

     5.1   If the Settlement Administrator determines that (i) a Settlement Class Member’s
           number of Claimed-On Accounts is fewer than the number claimed by such issuer
           in its Settlement Fund Claim Form, (ii) a Documented Damages Issuer’s Claimed-
           On Account Costs are less than the amount claimed by the Documented Damages
           Issuer, or (iii) a Documented Damages Issuer’s Issuer Reimbursement
           Assessment Amount is greater than that claimed by the Documented Damages
           Issuer (each, a “Disputed Claim”), the Settlement Administrator will notify the
           claimant by email to the email address identified in the Settlement Fund Claim
           Form (or a mailing address for those that do not provide an email address).

     5.2   Each recipient of any notice pursuant to Section 5.1 herein will have ten (10)
           days from receipt of such notice to respond to the Settlement Administrator by
           reply email (or regular mail for those that did not provide an email address) by
           stating whether the claimant accepts or rejects the Settlement Administrator’s
           determination regarding the Disputed Claim.


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      5.2.1 If the claimant rejects the Settlement Administrator’s determination
              regarding the Disputed Claim, the Settlement Administrator will have ten
              (10) days to reconsider the original determination, make a final
              determination, and communicate the final determination to the claimant
              by email (or regular mail for those that did not provide an email address).
              The claimant will have 10 days to reply back to the Settlement
              Administrator to accept or reject the final determination.

      5.2.2 If the claimant approves the final determination or fails to send a
              timely response to any communication from the Settlement
              Administrator pursuant to Sections 5.1 and 5.2.1 herein, then the
              Settlement Administrator’s final determination regarding the Disputed
              Claim will be used in calculating the Settlement Class Member’s
              Fixed Payment Award or the Documented Damages Issuer’s Maximum
              Potential Claim Amount, as appropriate. If the final determination
              regarding the Disputed Claim is timely rejected by the claimant, then
              the Disputed Claim will be resolved in accordance with the procedures
              set out in Sections 5.3 and 5.4 below.

5.3   After receipt of a claimant’s rejection of a final determination regarding a
      Disputed Claim, the Settlement Administrator will provide Settlement Class
      Counsel and Home Depot’s Counsel (together “Counsel”) with a copy of the
      Settlement Fund Claim Form and any documentation submitted by the claimant,
      and the communications between the Settlement Administrator and the claimant
      (the “Claim File”).

      5.3.1    Counsel will confer regarding the Disputed Claim.

      5.3.2 If Counsel agree, as applicable, that a claimant issued the number of
              Claimed-On Accounts claimed on its Claim Form, incurred the
              Claimed-On Account Costs claimed on its S e t t l e me n t F u n d Claim
              Form, or had the Issuer Reimbursement Assessment Amount claimed
              on its Settle ment Fund Claim Form, Counsel’s determination will be
              final. Counsel will inform the Settlement Administrator of their
              determination by email, and the Settlement Administrator will provide
              notice of the decision to the claimant.

      5.3.3 If Counsel agree, as applicable, that a claimant issued fewer than the
              number of Claimed-On Accounts claimed on its Settlement Fund Claim
              Form, incurred fewer than the Claimed-On Account Costs claimed on its
              Settlement Fund Claim Form, or had an Issuer Reimbursement
              Assessment Amount greater than was claimed on its Settlement Fund
              Claim Form, then Counsel will notify the Settlement Administrator by
              email (“Counsel’s Notice”) and, if the Settlement Class Member
              continues to dispute Counsel’s determination, the Disputed Claim at
              issue will be submitted to the “Claim Referee”. The Parties need not
              select a Claim Referee unless and until such time as one is needed.


                                        6
      5.3.4 If Counsel disagree, as applicable, during the inquiries described in5.3.2
             or 5.3.3, the Disputed Claim(s) at issue will be submitted to the Claim
             Referee.

5.4   After receipt of Counsel’s Notice, the Settlement Administrator will provide the
      Claim Referee with a copy of the Claim File. The Claim Referee will make a final
      determination regarding the Disputed Claim. All such final determinations will be
      made by the Claim Referee based on whether the number or amount at issue in
      the Disputed Claim, or some portion thereof, is reasonably supported in fact. The
      Claim Referee’s decision will be final.




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Exhibit 2 to the Settlement Agreement
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

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In re: The Home Depot, Inc., Customer )       Case No.: 1:14-md-02583-TWT
Data Security Breach Litigation       )
                                      )
This document applies to:             )
FINANIAL INSTITUTION CASES            )
__________________________________)

                    PRELIMINARY APPROVAL ORDER

       This matter is before the Court for consideration of whether the settlement

reached by the parties should be preliminarily approved, the proposed settlement

class preliminarily certified, and the proposed plan for notifying the class

approved. Having reviewed the proposed settlement agreement, together with its

exhibits, and based upon the relevant papers and all prior proceedings in this

matter, the Court has determined the proposed settlement satisfies the criteria for

preliminary approval, the proposed settlement class should be preliminarily

certified, and the proposed notice plan approved.       Accordingly, good cause

appearing in the record, IT IS HEREBY ORDERED THAT:

               Provisional Certification of The Settlement Class

      (1)   The Court provisionally certifies the following settlement class:
      All banks, credit unions, financial institutions, and other entities in the
      United States (including its Territories and the District of Columbia)
      that issued Alerted-on Payment Cards. Excluded from the class are
      entities that have released all of their claims against Home Depot, but
      not excluded from the class are independent sponsored entities whose
      claims were released in connection with Alternative Recovery Offers
      made by MasterCard.

Also excluded from the settlement class are Home Depot and the financial

institutions that timely and validly opt out. This settlement class is provisionally

certified for purposes of settlement only.

      (2)   The Court determines that for settlement purposes the proposed

settlement class meets all the requirements of Federal Rule of Procedure Rule

23(a) and (b)(3), namely that the class is so numerous that joinder of all members

is impractical; that there are common issues of law and fact; that the claims of the

class representatives are typical of absent class members; that the class

representatives will fairly and adequately protect the interests of the class as they

have no interests antagonistic to or in conflict with the class and have retained

experienced and competent counsel to prosecute this matter; that common issues

predominate over any individual issues; and that a class action is the superior

means of adjudicating the controversy.




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      (3)    The class members designated as “Settlement Class Representatives”

in Paragraph 26 of the settlement agreement are designated and appointed as the

representatives of the proposed class.

      (4)    The following lawyers, who were previously appointed by the Court

as interim Co-lead Counsel or Chair of the Plaintiffs’ Steering Committee, are

designated as Settlement Class Counsel pursuant to Fed. R. Civ. P. 23(g): Kenneth

S. Canfield of Doffermyre Shields Canfield & Knowles, LLC; Joseph P.

Guglielmo of Scott+Scott, Attorneys at Law, LLP; Gary F. Lynch of Carlson

Lynch Sweet & Kilpela, LLP; and James J. Pizzirusso of Hausfeld, LLP - DC. The

Court finds that these lawyers are experienced and will adequately protect the

interests of the settlement class.

                Preliminary Approval of the Proposed Settlement

      (5)    Upon preliminary review, the Court finds the proposed settlement is

fair, reasonable and adequate, otherwise meets the criteria for approval, and

warrants issuance of notice to the settlement class. Accordingly, the proposed

settlement is preliminarily approved.

                               Final Approval Hearing

      (6)    A Fairness Approval Hearing shall take place before the Court on

___________, 2016, at ___ a.m./p.m. in Courtroom 2108 of the Richard B. Russell

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Federal Building and United States Courthouse, 75 Ted Turner Dr., SW, Atlanta,

Georgia 30303-3309, to determine, among other things, whether: (a) the proposed

settlement class should be finally certified for settlement purposes pursuant to

Federal Rule of Civil Procedure 23; (b) the settlement should be finally approved

as fair, reasonable and adequate and, in accordance with the settlement’s terms,

this matter should be dismissed with prejudice; (c) the application of Settlement

Class Counsel for an award of attorneys’ fees and expenses should be approved;

and (d) the application for the class representatives to receive service awards

should be approved. Any other matters the Court deems necessary and appropriate

will also be addressed at the hearing.

      (7)    Settlement Class Counsel shall submit their application for fees and

expenses and the application for services awards to the class representatives thirty

days before the Final Approval Hearing. Home Depot shall submit its Response to

Plaintiffs’ Application for Attorneys’ Fees, Expenses and Service Awards no later

than ten days before the Final Approval Hearing.

      (8)    Any settlement class member that has not timely and properly

excluded itself from the settlement class in the manner described below, may

appear at the Final Approval Hearing in person or by counsel and be heard, to the

extent allowed by the Court, regarding the proposed settlement; provided,


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however, that no class member that has elected to exclude itself from the class

shall be entitled to object or otherwise appear, and, further provided, that no class

member shall be heard in opposition to the settlement unless the class member

complies with the requirements of this Order pertaining to objections, which are

described below.

                                  Administration

      (9)    Angeion Group is appointed as the Settlement Administrator, with

responsibility for class notice and claims administration. Home Depot shall pay

the Settlement Administrator’s fees, as well as all other costs and expenses

associated with notice and administration as provided in the settlement agreement.

                                Notice to the Class

      (10) The notice program set forth in the settlement agreement and the

forms of notice and claim forms attached as exhibits to the settlement agreement

satisfy the requirements of Federal Rule of Civil Procedure 23 and thus are

approved. Non-material modifications to the exhibits may be made without further

order of the Court. The Settlement Administrator is directed to carry out the notice

program in conformance with the settlement agreement and to perform all other

tasks that the settlement agreement requires.




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      (11) The Court finds that the form, content, and method of giving notice to

the settlement class as described in the settlement agreement and exhibits: (a)

constitute the best practicable notice to the settlement class; (b) are reasonably

calculated, under the circumstances, to apprise settlement class members of the

pendency of the action, the terms of the proposed settlement, and their rights under

the proposed settlement; (c) are reasonable and constitute due, adequate, and

sufficient notice to those persons entitled to receive notice; and (d) satisfy the

requirements of Federal Rule of Civil Procedure 23, the constitutional requirement

of due process, and any other legal requirements. The Court further finds that the

notice is written in plain language, uses simple terminology, and is designed to be

readily understandable by settlement class members.

                             Exclusions from the Class

      (12) Any settlement class member that wishes to be excluded from the

settlement class must mail a written notification of the intent to exclude itself to the

Settlement Administrator at the address provided in the notice, postmarked no later

than _________________ (the “Opt-Out Deadline”). The written notification must

identify the settlement class member and this action; state that the settlement class

member has chosen to opt-out or exclude itself from the settlement class; and




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contain the name, address, position, and signature of the individual who is acting

on behalf of the settlement class member.

      (13) The Settlement Administrator shall provide the parties with copies of

all opt-out notifications, and a final list of all that have timely and validly excluded

themselves from the settlement class, which should be filed with the Court before

the Final Approval Hearing.

      (14) Any settlement class member that does not timely and validly exclude

itself from the settlement shall be bound by the terms of the settlement. If final

judgment is entered, any settlement class member that has not submitted a timely,

valid written notice of exclusion from the settlement class shall be bound by all

subsequent proceedings, orders and judgments in this matter, including but not

limited to the release set forth in the settlement and final judgment.

      (15) All those that submit valid and timely notices of exclusion shall not be

entitled to receive any benefits of the settlement.

                            Objections to the Settlement

      (16) A settlement class member that complies with the requirements of this

Order may object to the settlement, the request of Settlement Class Counsel for an

award of fees and expenses to Settlement Class Counsel, or the request for service

awards to the class representatives.


                                           7
      (17) No settlement class member shall be heard, and no papers, briefs,

pleadings, or other documents submitted by any settlement class member shall be

received and considered by the Court, unless the objection is (a) electronically filed

with the Court by the Objection Deadline; or (b) mailed first-class postage prepaid

to the Clerk of Court, Class Counsel, and Home Depot’s Counsel, at the addresses

listed in the Notice, and postmarked by no later than the Objection Deadline, as

specified in the Notice. Objections shall not exceed twenty five (25) pages. For the

objection to be considered by the Court, the objection shall set forth:

             (a)   The name of this action and reference that the objection applies

      to the Financial Institution cases;

             (b)   The name of the objector and the full name, address, email

      address, and telephone number of the person acting on its behalf;

             (c)   An explanation of the basis upon which the objector claims to

      be a settlement class member;

             (d)   All grounds for the objection, accompanied by any legal

      support for the objection;

             (e)   The identity of all counsel who represent the objector, including

      any former or current counsel who may be entitled to compensation for any

      reason related to the objection to the settlement, the fee application, or the


                                            8
application for service awards;

      (f)    The identity of all counsel representing the objector who will

appear at the Final Approval Hearing;

      (g)    The number of times in which the objector has objected to a

class action settlement within the five years preceding the date that the

objector files the objection, the caption of each case in which the objector

has made such an objection, and a copy of any orders relating to or ruling

upon the objector’s prior objections that were issued by the trial and

appellate courts in each case;

      (h)    The number of times in which the objector’s counsel and the

counsel’s law firm have objected to a class action settlement within the five

years preceding the date that the objector files the objection, the caption of

each case in which the counsel or the firm has made such objection, and a

copy of any orders related to or ruling upon counsel’s or the firm’s prior

objections that were issued by the trial and appellate courts in each case;

      (i)    If the objector is represented by an attorney who intends to seek

fees and expenses from anyone other than the objectors he or she represents,

the objection should also include (i) a description of the attorney’s legal

background and prior experience in connection with class action litigation;


                                   9
      (ii) the amount of fees sought by the attorney for representing the objector

      and the factual and legal justification for the fees being sought; (iii) a

      statement regarding whether the fees being sought are calculated on the basis

      of a lodestar, contingency, or other method; (iv) the number of hours already

      spent by the attorney and an estimate of the hours to be spent in the future;

      and (v) the attorney’s hourly rate;

            (j)    Any and all agreements that relate to the objection or the

      process of objecting, whether written or verbal, between objector or

      objector’s counsel and any other person or entity;

            (k)    A description of all evidence to be presented at the Final

      Approval Hearing in support of the objection, including a list of any

      witnesses, a summary of the expected testimony from each witness, and a

      copy of any documents or other non-oral material to be presented;

            (l)    A statement confirming whether the objector intends to

      personally appear and/or testify at the Final Approval Hearing; and,

            (m)    The objector’s signature on the written objection (an attorney’s

      signature is not sufficient).

      (18) In addition, any settlement class member that objects to the proposed

settlement must make itself available to be deposed regarding the grounds for its


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objection and must provide along with its objection the dates when the objector

will be available to be deposed during the period from when the objection is filed

through the date five days before the Final Approval Hearing.

      (19) Any settlement class member that fails to comply with the provisions

in this Order will waive and forfeit any and all rights it may have to object, and

shall be bound by all the terms of the settlement agreement, this Order, and by all

proceedings, orders, and judgments, including, but not limited to, the release in the

settlement agreement if final judgment is entered.

                      Claims Process and Distribution Plan

      (20) The settlement agreement establishes a process for assessing and

determining the validity and value of claims and a methodology for paying

settlement class members that submit a timely, valid claim form. The Court

preliminarily approves this process, including specifically the Distribution Plan

attached as Exhibit 1 to the settlement agreement, and directs that the Settlement

Administrator effectuate the claims and distribution process according to the terms

of the settlement agreement.

      (21) Settlement class members that qualify for and wish to submit a claim

form shall do so in accordance with the requirements and procedures specified in

the notice and the claim forms. If final judgment is entered, all settlement class


                                         11
members that qualify for any benefit under the settlement but fail to submit a claim

in accordance with the requirements and procedures specified in the notice and

claim forms shall be forever barred from receiving any such benefit, but will in all

other respects be subject to and bound by the provisions of the settlement

agreement, including the release included in that agreement, and the final

judgment.

              Termination of the Settlement and Use of this Order

      (22) This Order shall become null and void and shall be without prejudice

to the rights of the parties, all of which shall be restored to their respective

positions existing immediately before this Court entered this Order, if the

settlement is not finally approved by the Court or is terminated in accordance with

the terms of the settlement agreement. In such event, the settlement and settlement

agreement shall become null and void and be of no further force and effect, and

neither the settlement agreement nor the Court’s orders, including this Order,

relating to the settlement shall be used or referred to for any purpose whatsoever.

      (23) This Order shall be of no force or effect if final judgment is not

entered or there is no Effective Date under the terms of the settlement agreement;

shall not be construed or used as an admission, concession, or declaration by or

against Home Depot of any fault, wrongdoing, breach, or liability; shall not be


                                         12
construed or used as an admission, concession, or declaration by or against any

settlement class representative or any other settlement class member that its claims

lack merit or that the relief requested is inappropriate, improper, unavailable; and

shall not constitute a waiver by any party of any defense or claims it may have in

this litigation or in any other lawsuit.

                                 Stay of Proceedings

      (24) Except as necessary to effectuate this Order, this matter and any

deadlines set by the Court in this matter are stayed and suspended pending the

Final Approval Hearing and issuance of the final judgment, or until further order of

this Court.

                      Continuance of Final Approval Hearing

      (25)    The Court reserves the right to adjourn or continue the Final

Approval Hearing and related deadlines without further written notice to the

settlement class. If the Court alters any of those dates or times, the revised dates

and times shall be posted on the website maintained by the Settlement

Administrator.

                                Summary of Deadlines

      (26) The settlement agreement, as preliminarily approved in this Order,

shall be administered according to its terms pending the Final Approval Hearing.


                                           13
Deadlines arising under the settlement agreement and this Order include but are

not limited to the following:

      Notice Deadline: [30 days after entry of this Order]

      Objection and Opt-Out Deadline: [90 days after entry of this Order]

      Claims Deadline: [150 days after entry of this Order]

      Final Approval Hearing: [a date to be set by the Court no earlier than 100

             days after the date of the preliminary approval order]

      Application for Attorneys’ Fees, Expenses and Service Awards: [30 days

             before the Final Approval Hearing]

      Home Depot’s Response to Plaintiffs’ Application for Attorneys’ Fees,

             Expenses and Service Awards: [10 days before the Final Approval

             Hearing]

      Motion for Final Approval of the Settlement: [30 days before the Final

             Approval Hearing]

IT IS SO ORDERED this ____ day of _________, 2017.


                                              ________________________________
                                              The Honorable Thomas W. Thrash Jr.
                                              United States District Court Judge




                                         14
Exhibit 3 to the Settlement Agreement
     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                              GEORGIA

     If your financial institution issued payment cards that were
    subject to card brand alerts as a result of the 2014 Home Depot
       data breach, it could get a payment from a class action
                              settlement.

                   A federal court authorized this notice. This is not a solicitation from a lawyer.

•   A settlement h a s b e e n p r o p o s e d t o r e s o l v e lawsuits against Home Depot U.S.A., Inc. and The Home
    Depot, Inc. (collectively, “Home Depot”) b r o u g h t b y f i n a n c i a l i n s t i t u t i o n s s e e k i n g t o
    r e c o v e r d a m a g e s r e s u l t i n g f r o m t h e payment card data breach announced by Home Depot in
    September 2014 (the “Data Breach”).
•   The lawsuits, referred to as In re: The Home Depot, Inc. Customer Data Security Breach Litigation,
    Case No. 1:14-md-2583-TWT (N.D. Ga.), a s s e r t t h a t Home Depot i s l e g a l l y r e s p o n s i b l e f o r t h e
    Data Breach because it failed to maintain adequate data security practices and its
    f a i l u r e t o d o s o w a s negligent, negligent as a matter of law, and in violation of several states’ unfair and
    deceptive trade practices statutes. Home Depot denies these allegations and that it is liable in any amount to the
    financial institutions.

•   Under the settlement, Home Depot will pay $25,000,000 into a Settlement Fund to be distributed to
    Settlement Class Members who timely submit valid claims. All class members are eligible to
    receive a fixed payment estimated to be $2 for each payment card that was alerted-on as a
    result of the Data Breach without providing any documentation of their losses. Class members
    who provide documentation also are eligible to recover up to 60 percent of their
    uncompensated losses.

•   Home Depot also will pay up to $2,250,000 to compensate certain independent Sponsored Entities whose
    legal claims against Home Depot were released by their non-affiliated sponsors in 2015 as part of the
    MasterCard ADC program and that certify they did not have sufficient time or information to appropriately
    consider the Alternative Recovery Offer from MasterCard when originally presented with it. Sponsored
    Entities that file a valid claim will receive up to $2 for each eligible payment card that was released.

•   In addition, Home Depot has agreed to improve its data security practices to reduce the chances of a future
    data breach and to pay separately the costs of notice, administration and, if approved by the court,
    reasonable attorneys’ fees and expenses. Service awards of up to $2500 to each class representative will be
    paid out of the Settlement Fund if approved by the court


    Your financial institution’s legal rights are affected whether you act or don’t act. Read this notice
    carefully.


                           YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

SUBMIT A CLAIM FORM                    If eligible, your financial institution will receive a cash payment. This is the
                                       only way to get compensation from the settlement.

EXCLUDE YOUR                           If you ask to be excluded, you will not receive a cash payment, but you
FINANCIAL                              may be able to file your own lawsuit against Home Depot for the same
INSTITUTION                            claims. This is the only option that leaves your financial institution the
                                       right to file its own lawsuit against Home Depot for the claims that are


          Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                            1
                                           being resolved by this settlement.

OBJECT                                     Your financial institution can remain in the class and file an objection
                                           telling the Court why you do not like the settlement. If your objections
                                           are overruled, your financial institution will be bound by the
                                           settlement.

DO NOTHING                                 Get no compensation and forfeit your financial institution’s right to
                                           ever sue Home Depot to recover for the losses it suffered from the Data
                                           Breach.


•    These rights and options—and the deadlines to exercise them—are explained in this notice.

•    The Court in charge of this case still has to decide whether to approve the settlement. Payments will be made if
     the Court approves the settlement and after any appeals are resolved. Please be patient.


                                               WHAT THIS NOTICE CONTAINS


Basic Information.............................................................................................................. Page 3
     1.   Why did I get this notice package?
     2.   What is this lawsuit about?
     3.   Why is this a class action?
     4.   Why is there a settlement?

Who is Part of the Settlement ..................................................................................... Pages 3-4
     5.   How do I know if I am part of the settlement?
     6.   Are there exceptions to being included?
     7.   I am still not sure if I am included.

The Settlement Benefits ............................................................................................... Pages 4-5
     8.   What does the settlement provide?
     9.   How much will my financial institution’s payment be?

How To Get a Payment-Submitting a Claim Form .................................................. Pages 5-6
     10. How can my financial institution get a payment?
     11. When would my financial institution get its payment?
     12. What is my financial institution giving up to get a payment or remain in the Class?

Excluding Your Financial Institution from the Settlement ..................................... Pages 6-7
     13. How can my financial institution opt out of the settlement?
     14. If my financial institution doesn’t exclude itself, can it sue Home Depot for the same thing later?
     15. If my financial institution excludes itself, can it get money from this settlement?

The Lawyers and Financial Institutions Representing You ......................................... Page 7
     16. Does my financial institution have a lawyer in the case?
     17. How will the lawyers and financial institutions representing the class be paid?

Objecting to the Settlement ......................................................................................... Pages 7-8
     18. How does a financial institution tell the Court that it doesn’t like the settlement?
     19. What’s the difference between objecting and excluding/opting out?


            Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                                   2
 The Court’s Final Approval Hearing .............................................................................. Page 8
       20. When and where will the Court decide whether to approve the settlement?
       21. Does my financial institution have to attend the hearing?

 If You Do Nothing ............................................................................................................. Page 8
       22. What happens if my financial institution does nothing at all?

 Getting More Information ............................................................................................... Page 9
       23. How do I get more information?


                                                       BASIC INFORMATION

1.    Why did I get this notice package?


 Your financial institution may have issued payment cards identified in one of the alerts sent out by the card brands
 (Visa, MasterCard, Amex, or Discover). In addition, your financial institution may be a Sponsored Entity entitled to
 compensation even if it released its legal claims against Home Depot.

 The Court authorized this notice because you have a right to know about your financial institution’s rights under a
 proposed class action before the Court decides whether to approve the settlement. If the Court approves the
 settlement, and after objections and appeals are resolved, a settlement administrator appointed by the Court will
 make the cash payments that the settlement allows.

 This package explains the lawsuit, the settlement, your legal rights, what benefits are available, who is eligible for
 them, and how to get them.

 The Court in charge of the case is the United States District Court for the Northern District of Georgia, and the case
 is known as In re: The Home Depot, Inc. Customer Data Security Breach Litigation, Case No. 14-md-2583-TWT.
 The financial institutions who sued are called “Plaintiffs,” and the company they sued, Home Depot, is the
 “Defendant.”

 2.    What is this lawsuit about?

 In September of 2014, Home Depot announced that hackers had breached its computer systems and stolen credit and
 debit card information from some customers who shopped at Home Depot from April 10, 2014 to September 13,
 2014. Plaintiffs claim that the Data Breach occurred because Home Depot negligently failed to provide sufficient
 data security, allowing the hackers to steal its customers’ financial information. Plaintiffs also claim that Home
 Depot violated various states’ unfair and deceptive trade practices acts and that Home Depot committed negligence
 per se because its failure to provide sufficient data security violated Section 5 of the FTC Act. The lawsuits seek to
 recover the losses incurred by financial institutions, such as the expense of reissuing cards, amounts paid to cover
 fraudulent charges, and other costs incurred responding to the Data Breach. Home Depot denies any wrongdoing.
 The Court has not decided whether Home Depot has any legal liability.

 After this lawsuit was filed, many financial institutions received compensation for their losses through a card brand
 reimbursement process, such as the MasterCard ADC program and Visa’s GCAR program, without releasing their
 legal claims against Home Depot. In these processes, under agreements negotiated with MasterCard and Visa,
 Home Depot offered to pay a premium to financial institutions in exchange for a release of legal claims. Many
 financial institutions accepted this offer themselves or their sponsor accepted the offer on their behalf. In the
 lawsuit, Plaintiffs have challenged the validity of many of these releases and seek to have them invalidated by the
 Court on the ground that the releases were obtained based upon misleading and coercive communications. Home



             Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                                    3
Depot contends the releases are all valid. The Court has not yet decided whether to invalidate any of the releases
that Plaintiffs have challenged.

 3.   Why is this a class action?

In a class action, one or more entities called “class representatives” sue on behalf of themselves and other entities
with similar claims. All of these entities together are the “class” or “class members.” One court resolves the issues
for all class members, except for those who exclude themselves from the settlement class.

 4.   Why is there a settlement?


The Court has not decided in favor of Plaintiffs or Home Depot. Instead, both sides agreed to a settlement.
Settlements avoid the costs and uncertainty of a trial and related appeals, while providing benefits to members of the
settlement class. The class representatives and the attorneys for the settlement class think the settlement is best for
all class members.

                                      WHO IS PART OF THE SETTLEMENT

 5.   How do I know if I am part of the settlement?

Your financial institution is a member of the Class and affected by the settlement if:

         •     Your financial institution is a financial institution in the United States, including its territories and the
               District of Columbia;
         •     Your financial institution issued one or more payment cards that were identified as having been at risk
               as a result of the Home Depot Data Breach by (i) Visa, in an alert in the US-2014-1072-PA series; (ii)
               MasterCard, in an alert in the ADC3868-US-l4 series, the ADC3869-US-l4 series, or the ADC3871-
               US-l4 series; (iii) Discover, in an alert in the DCA-US-2014-0635 series; or (iv) American Express in
               an alert similar to the foregoing Visa and MasterCard alerts; and
         •     Your financial institution has not settled directly with Home Depot or previously released its claims
               against Home Depot with respect to its alerted-on accounts, for example, by signing a release while
               participating in a settlement offered by Visa or MasterCard. However, if your financial institution is
               an independent Sponsored Entity, its claims against Home Depot were released by its sponsor in
               connection with MasterCard’s ADC program, and it does not share a corporate affiliation with its
               sponsor, your financial institution is still a class member and may be entitled to benefits if you certify
               that your Financial Institution did not have sufficient time or information to appropriately consider the
               Alternative Recovery Offer from MasterCard when originally presented with it.

 6.   Are there exceptions to being included?

If your financial institution excludes itself from the settlement, it is no longer part of the settlement class and will no
longer be eligible to receive any of the settlement benefits. This process of excluding your financial institution is
also referred to as “opting out” of the settlement.

 7.   I am still not sure if I am included.


If you are still not sure whether your financial institution is included, you can ask for free help. You can call 1-
XXX-XXX-XXXX or visit HomeDepotBankSettlement.com for more information. Or you can fill out and return
one of the claim forms described in Question 10, to see if you qualify.

                                            THE SETTLEMENT BENEFITS



             Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                             4
 8.   What does the settlement provide?

Home Depot will pay $25,000,000 into a Settlement Fund to compensate class members who have not released all
of their legal claims against Home Depot. In addition, Home Depot will pay up to $2,250,000 to Sponsored Entities
whose claims against Home Depot were released by their sponsor in connection with MasterCard’s ADC program
so long as the Sponsored Entities are independent, do not share a corporate affiliation with their sponsor, certify they
did not have sufficient time or information to appropriately consider the Alternative Recovery Offer from
MasterCard when originally presented with it, and submit valid claims.

Separate and apart from these amounts, Home Depot has agreed to take certain steps to improve its data security
practices in the future; pay the cost of notifying the class and administering the settlement; and, subject to the
Court’s approval, to pay the reasonable fees and expenses of the lawyers who represent the class. Service awards of
up to $2500 each to the class representatives will be paid from the Settlement Fund if the Court approves.


 9.   How much will my financial institution’s payment be?

If your financial institution is eligible to participate in the settlement and does not “opt out” of this settlement, it may
be eligible for benefits under the settlement. If your financial institution issued alerted-on payment cards that are not
the subject of a release, it may be eligible for a payment from the $25 million Settlement Fund. If your financial
institution is a Sponsored Entity whose claims were released by its sponsor in connection with MasterCard’s ADC
program, it may be eligible to receive a payment from Home Depot, which will pay up to an additional $2,250,000
for this purpose, so long as it is independent, does not share a corporate affiliation with its sponsor, and certifies that
it did not have sufficient time or information to appropriately consider the Alternative Recovery Offer when
originally presented with it. These payments are described further below:

A.       Payments from the $25 Million Settlement Fund
          (1) Fixed Payment Awards. All class members who file a valid claim are eligible to get a cash payment
from the Settlement Fund estimated to be $2.00 per each alerted-on payment card that is not subject to a release in
favor of Home Depot. This cash payment, which is called a Fixed Payment Award, is in addition to any
compensation that may already have been paid under Visa’s GCAR program, MasterCard’s ADC programs, or any
other card brand reimbursement program. The estimated payment may be subject to a pro rata reduction if there is
insufficient money in the Settlement Fund to pay all valid claims, although this possibility is not considered likely.
The amount actually paid MAY increase if money remains in the Settlement Fund after payment of all Fixed
Payment Awards, all Documented Damages Awards, and service awards to the class representatives approved by the
Court. You are not required to submit any documentation or evidence of your financial institution’s losses to receive
a Fixed Payment Award.

          (2) Documented Damages Awards. In addition to receiving a Fixed Payment Award, all class members
that file a valid claim and provide documentation are eligible to get a supplemental payment of up to 60 percent of
their provable, unreimbursed losses, including the costs of reissuing compromised or alerted-on cards, paying
fraudulent charges made on compromised cards, and any other expenses that can be tied to the data breach. (Not all
alerted-on cards were compromised. A “compromised card” is a payment card that was used to make purchases at
Home Depot during the period from April 10, 2014 to September 13, 2014 on a self-checkout kiosk where the
malware that gave rise to the data breach was present. Only fraud losses incurred on compromised cards were
caused by the data breach. Please contact the Settlement Administrator if you have any questions regarding whether
any cards issued by your financial institution were compromised.) Subtracted from class members’ provable losses
will be any compensation received under Visa’s GCAR program, MasterCard’s ADC programs, or any other card
brand reimbursement program as well as the amount of the Fixed Payment Award paid under this settlement. These
supplemental payments, which are called Documented Damages Awards, will be funded with the money remaining
in the Settlement Fund after payment of all Fixed Payment Awards and all services awards to the class
representatives approved by the Court. The amount to be paid will be subject to a pro rata reduction if there is not
enough money remaining in the Settlement Fund to pay all Documented Damages Awards in full.
         The proof you will need to collect and submit to receive a Documented Damages Award includes:



           Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                             5
     1.   The expenses your financial institution incurred between September 1, 2014 and December 31, 2014 for
          reimbursement of fraud on its eligible accounts (but only to the extent your financial institution did not
          receive reimbursement for those expenses, for example, through card-not-present fraud chargebacks). The
          fraud losses that can be recovered in this settlement will also be reduced by any amounts your financial
          institution already received or will receive from payment card brand reimbursement programs.

     2.   Your financial institution’s actual costs of reissuing payment cards for eligible accounts between
          September 1, 2014 and December 31, 2014 to the extent it has not already been reimbursed. Your financial
          institution’s card reissuance costs that can be recovered in this settlement will be reduced by any amounts
          your financial institution received or will receive from a card brand reimbursement program.

     3.   The amount of any other costs you contend your financial institution incurred on its eligible accounts in
          responding to the Home Depot Data Breach between September 1, 2014 and December 31, 2014.

     4.   The amounts of any payments your financial institution has received or will receive from a card
          reimbursement program related to the Home Depot Data Breach.

B.        Payments to Sponsored Entities

Sponsored Entities are entities that received payments from Home Depot in connection with an Alternative
Recovery Offer from MasterCard under MasterCard’s ADC program and whose claims were released by a
sponsoring entity that does not share a corporate affiliation with the Sponsored Entity whose claims were released.
An independent Sponsored Entity that submits a valid claim is eligible to receive to a payment estimated to be $2.00
for each alerted-on payment card that was so released by its sponsor. If the total amount of valid claims submitted
by Sponsored Entities exceeds $2,250,000, each valid claim shall be reduced on a pro rata basis so that the total of
all claims is equal to $2,250,000.

                      HOW TO GET A PAYMENT-SUBMITTING A CLAIM FORM

10. How can my financial institution get payment?

To qualify for a payment, you must validly complete and submit a claim form. There are two types of claim forms
in this settlement: (1) a Settlement Fund Claim Form and (2) Sponsored Entity Claim Form. Both are included with
this Notice. You may also get these claim forms on the internet at HomeDepotBankSettlement.com.

All class members that wish to obtain compensation for payment cards that are not subject to a release given to
Home Depot must complete and submit the Settlement Fund Claim Form. All class members with unreleased
payment cards should properly complete and timely submit Part I of the Settlement Fund Claim Form, which will
make your financial institution eligible to receive a Fixed Payment Award without providing proof of its losses.
Class members who wish to be eligible to receive a Documented Damages Award must properly complete and
timely submit Part I and Part II of the Settlement Fund Claim Form.

If your financial institution is a Sponsored Entity, you must properly complete and timely submit a Sponsored Entity
Claim Form to obtain a payment from Home Depot.

To properly complete and timely submit a claim form, you should read the instructions carefully, include all
information and documents required by the claim form, sign it, and either submit the signed claim form
electronically through HomeDepotBankSettlement.com by _______, 2017 or mail it to the Settlement Administrator
postmarked no later than ______, 2017.

Upon receipt of your claim, the Settlement Administrator will audit your claim to determine the amount of your
financial institution’s payment.


 11. When would my financial institution get its payment?



           Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

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The Court will hold a hearing on _________________ to decide whether to approve the settlement. If the Court
approves the settlement, there may be appeals, which could take more than a year to resolve. Payments to class
members will be made after the settlement is finally approved and any appeals or other required proceedings have
been completed. You may visit HomeDepotBankSettlement.com for updates on the progress of the settlement.
Please be patient.

 12. What is my financial institution giving up to get a payment or remain in the Class?


Unless you exclude your financial institution from the settlement, your financial institution cannot sue Home
Depot or be part of any other lawsuit against Home Depot about the issues this settlement resolves. Unless your
financial institution excludes itself, all of the decisions by the Court will bind it. The specific claims your financial
institution is giving up against Home Depot are described in the settlement agreement. The terms of the release are
described in Section IX of the settlement agreement. Read it carefully. The settlement agreement is available at
HomeDepotBankSettlement.com.

If you have any questions, you can talk to the law firms listed in Question 16 for free, or you can, of course, talk to
your own lawyer if you have questions about what this means.

If your financial institution wants to keep its rights to sue or continue to sue Home Depot based on claims this
settlement resolves, your financial institution must take steps to exclude itself from the settlement class (see
Questions 13-15).

          EXCLUDING YOUR FINANCIAL INSTITUTION FROM THE SETTLEMENT

13. How can my financial institution opt out of the settlement?
To exclude your financial institution from the settlement, or “opt out,” you must send a letter by U.S. Mail that
includes:

     •       The name of this proceeding (In re: The Home Depot, Inc. Customer Data Security Breach Litigation);
     •       Your financial institution’s full name, address, and phone number;
     •       The words “Request for Exclusion” at the top of the document or a statement in the body of the letter
             requesting exclusion from the Class; and
     •       A signature of a person authorized to make such decisions for your financial institution
Financial institutions that seek exclusion from the settlement through a letter are also asked to provide:

     •       The number of eligible accounts that the financial institution issued.

You must mail the completed Request for Exclusion form or above-described letter, postmarked no later than ____,
2017, to:

                                         Home Depot Data Breach Settlement
                                                    c/o _____
                                                 P.O. Box _____
                                                    ________

If you ask to be excluded, your financial institution will not get any payment as part of this settlement, and you
cannot object to this settlement. You will not be legally bound by anything that happens in these lawsuits. Your
financial institution may be able to sue (or continue to sue) Home Depot in the future. If you object to the
settlement and seek to exclude your institution, you will be deemed to have excluded your financial institution.


14. If my financial institution doesn’t exclude itself, can it sue Home Depot for the same thing later?



           Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                           7
No. Unless you exclude your financial institution from the settlement, your financial institution gives up any
right to sue Home Depot for the claims that this settlement resolves. If you have a pending lawsuit, speak to your
lawyer in that case immediately. Your financial institution must exclude yourself from this Class to continue its
own lawsuit. Remember, the exclusion deadline is ______, 2017.

15. If my financial institution excludes itself, can it get money from this settlement?

No. If you exclude your financial institution, do not send in a claim form asking for a payment.

            THE LAWYERS AND FINANCIAL INSTITUTIONS REPRESENTING YOU
16. Does my financial institution have a lawyer in the case?

Yes. The Court appointed to represent your financial institution and other members of the settlement class the
following law firms: Doffermyre, Shields, Canfield & Knowles, LLC in Atlanta, Georgia; Carlson, Lynch, Sweet,
& Kilpela, LLP, in Pittsburgh, Pennsylvania; Scott+Scott, Attorneys at Law, LLP, in New York, New York; and
Hausfeld, LLC-DC in Washington, D.C. You will not be charged for these lawyers. If you want to be represented
by your own lawyer, you may hire one at your own expense.

17. How will the lawyers and financial institutions be paid?


Home Depot has agreed to pay reasonable fees to the lawyers who have prosecuted the lawsuits and to reimburse
them for their expenses in amounts to be determined by the Court, subject to Home Depot’s right to appeal those
awards. You will not be asked to pay any of the lawyers’ fees or expenses. The amounts paid by Home Depot will
not affect the benefits you are eligible for under the settlement.

In early 2015, the Court appointed a legal team to represent the Plaintiffs comprised of 17 law firms from around the
country. None of the lawyers has yet received any payment for their time or expenses. During the course of the
lawsuit, the lawyers have reported to the Court on a quarterly basis the number of hours they have expended on the
case, the value of their time calculated at certain hourly rates, and the amount of their expenses. Through December
31, 2016, the lawyers reported they collectively spent time having a value exceeding $11 million and had expenses
of more than $700,000. The lawyers intend to ask the Court to approve an award of up to $18 million in attorneys’
fees to compensate them for their time and the financial risk that they undertook when they agreed to represent the
Plaintiffs on a contingent basis, which means that they would receive a fee only if the lawsuit was successful. In
addition, the lawyers intend to ask the Court to reimburse them for all of the expenses they have incurred.

The settlement class is represented by 50 financial institutions from 44 states. In addition to the benefits they will
receive as members of the settlement class and subject to the approval of the Court, Home Depot has agreed to pay
service awards of up to $2,500 to each class representative for the efforts that they have expended on behalf of the
settlement class. The amount of the service awards approved by the Court will be paid from the Settlement Fund.

The Court will determine whether to approve the amount of fees and expenses requested by Settlement Class
Counsel and the proposed service awards to the class representatives at the Final Approval Hearing scheduled for
_________________, 2017. Settlement Class Counsel will file an application for fees, expenses, and service awards
30 days before the fairness hearing.        The application will be available on the settlement website
(HomeDepotBankSettlement.com) or you can request a copy by contacting the Settlement Administrator (see
Question 23).


                                     OBJECTING TO THE SETTLEMENT
18. How does my financial institution tell the Court that it does not like the settlement?

If your financial institution is a settlement class member, you can object to the settlement if you do not think it is
fair, reasonable, or adequate. You can give reasons why you think the Court should not approve it. The Court will



           Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                          8
consider your views. If you object to the settlement and seek to exclude your institution, your financial institution
will be deemed to have excluded itself.

To object, you must do so in writing and serve the objection on the Court, Settlement Class Counsel and the lawyers
for Home Depot at the addresses set forth below: Your objection shall not exceed -twenty five (25) pages and must
include:

     •       The name of this proceeding (In re: The Home Depot, Inc. Customer Data Security Breach Litigation);
     •       Your financial institution’s full name, address, and phone number;
     •       A written statement of your objections, as well as the specific reason for each objection, including any
             legal or factual support you wish to bring to the Court’s attention;
     •       Any evidence or other information you wish to introduce in support of your objections;
     •       A statement of whether you or your counsel intends to appear and argue at the Final Approval Hearing
             (see Question 20); and
     •       Evidence or other information showing your financial institution is a member of the Settlement Class.
     •       All other information specified in the Preliminary Approval Order (available on the settlement website,
             HomeDepotBankSettlement.com).

If you hire a lawyer to represent you in preparing a written objection or appearing at the Final Approval Hearing,
your counsel must provide additional information as specified in the Preliminary Approval Order.

Mail the Objection to these three different places, postmarked no later than ___, 2017:

Court                                   Settlement Class Counsel                Defense Counsel
Clerk of the Court                      Kenneth S. Canfield                     Cari K. Dawson
USDC, Northern District of Georgia      DOFFERMYRE SHIELDS                      Kristine McAlister Brown
Richard B. Russell Federal Building     CANFIELD & KNOWLES, LLC                 ALSTON & BIRD LLP
2211 United States Courthouse           1355 Peachtree St., NE, Suite 1900      1280 West Peachtree Street, NE
75 Ted Turner Drive, SW                 Atlanta, Georgia 30309                  Atlanta, Georgia 30309-3424
Atlanta, GA 30303-3309
                                        Gary F. Lynch
                                        CARLSON LYNCH SWEET
                                        & KILPELA, LLP
                                        PNC Park, Suite 210
                                        115 Federal Street
                                        Pittsburgh, Pennsylvania 15212

                                        Joseph P. Guglielmo
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19. What is the difference between objecting and excluding/opting out?

Objecting is simply telling the Court that you don’t like something about the settlement. You can object to the
benefits provided by the settlement or other terms of the settlement only if your financial institution stays in the
settlement class. Excluding your financial institution or “opting out” is telling the Court that you don’t want to be
included in the settlement. If your financial institution excludes itself, you have no basis to object to the
settlement and related releases because the settlement no longer affects you.


           Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                          9
                                THE COURT’S FINAL APPROVAL HEARING

20. When and where will the Court decide whether to approve the settlement?


The Court will hold a Final Approval Hearing at ____________ 2017, in Courtroom 2108 before Judge Thomas W.
Thrash, Jr. of the United States District Court for the Northern District of Georgia, located at 2211 Richard B.
Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303-3309. This
hearing date and time may be moved. Please refer to the settlement website (HomeDepotBankSettlement.com) for
notice of any changes.

At the Final Approval Hearing, the Court will consider whether the settlement is fair, reasonable, and adequate; how
much Settlement Class Counsel will receive as fees and expenses; and whether to approve service awards to the
class representatives. If there are objections, the Court will consider them. The Court will listen to people at the
hearing who file in advance a timely notice of their intention to appear (see Question 18). At or after the Final
Approval Hearing, the Court will decide whether to approve the settlement. There is no deadline by which the Court
must make its decision.

21. Does my financial institution have to attend the hearing?

No. Settlement Class Counsel will answer questions the Court may have. You are welcome, however, to come at
your own expense. If you submit a written objection, you do not have to come to the Court to talk about it. As long
as you submitted your written objection on time, the Court will consider it. You may also pay your own lawyer to
attend, but it is not necessary.

                                                IF YOU DO NOTHING

22. What happens if my financial institution does nothing at all?

If your financial institution is a settlement class member and does nothing, it will remain a part of the settlement
class but will not get any payments from the settlement. And, unless your financial institution excludes itself, it will
not be able to sue Home Depot about the claims being resolved through this settlement ever again.

                                        GETTING MORE INFORMATION
 23. How do I get more information?

This notice summarizes the settlement. More details are in the settlement agreement itself. You can get a copy of
the settlement agreement at HomeDepotBankSettlement.com or from the Settlement Administrator by calling toll-
free XXX-XXX-XXXX or writing to Home Depot Data Breach Settlement, c/o ________. The status of the
settlement, any appeals, any claims made, and the date of payments will be posted on the settlement website.

Please do not contact the Court with questions about the settlement.




           Questions? Call 1‐XXX‐XXX‐XXXX toll free, or visit HomeDepotBankSettlement.com

                                                          10
Exhibit 4 to the Settlement Agreement
                                        Home Depot Data Security Breach Settlement
                                    SPONSORED ENTITIES CLAIM FORM
              COMPLETE AND SIGN THIS FORM AND FILE ONLINE NO LATER THAN ______, 2017 at
                                     HomeDepotBankSettlement.com
                                                     or
                              FILE BY MAIL POSTMARKED BY ____, 2017 at
                 Home Depot Data Breach Settlement, c/o__________, Settlement Administrator,
                                       _______________________


   Under the settlement agreement, Home Depot will pay up to a total of $2,250,000 in additional compensation to certain
   Sponsored Entities whose legal claims against Home Depot were released by their sponsor in connection with the
   acceptance of an Alternative Recovery Offer under the MasterCard ADC program and who certify that they did not have
   sufficient time or information to appropriately consider the Alternative Recovery Offer when they were originally presented
   with it. This compensation offered to these Sponsored Entities is separate and apart from the $25 million Settlement Fund
   that will be used to compensate financial institutions that have not released their legal claims against Home Depot.

   If your financial institution is an independent Sponsored Entity that does not share a corporate affiliation with its sponsor
   and whose claims were released by its sponsor in connection with the MasterCard ADC program, your financial institution
   is eligible to receive what is anticipated to be $2.00 for each payment card that was subject to the release if you certify that
   your Sponsored Entity did not have sufficient time or information to appropriately consider the Alternative Recovery Offer
   from MasterCard when originally presented with it. To be eligible to receive this amount, you must complete, sign, and
   submit this form. The actual amount your financial institution receives may be less than $2.00 per card if the $2,250,000
   cap would otherwise be exceeded.

   If your financial institution is not a Sponsored Entity and has not released all of its legal claims against Home Depot, it may
   be eligible for compensation from the $25 million Settlement Fund. To receive such compensation, you will need to
   complete and submit a Settlement Fund Claim Form. Further information is available at HomeDepotBankSettlement.com.

   Use this form if your financial institution is an independent Sponsored Entity (i.e., a Sponsored Entity that
   does not share a corporate affiliation with its sponsor) that issued payment cards compromised in the Data
   Breach and whose claims against Home Depot were released by its sponsor in connection with the
   MasterCard ADC Program and you want to:

       •    Receive an anticipated payment of $2.00 for each card that was subject to a release provided by your
            financial institution’s sponsor to Home Depot in connection with MasterCard’s ADC program.
       •    Provide information regarding the number of payment cards that your financial institution issued and that
            were released

   Information to Gather to Complete this Form

       1) The number of payment card accounts your financial institution issued that were subject to an alert from
          MasterCard related to the Data Breach
       2) The number of alerted-on payment card accounts your financial institution issued that are subject to a
          release provided to Home Depot by its sponsor in connection with MasterCard’s ADC program


SETTLEMENT CLASS MEMBER INFORMATION

Name of Financial Institution / Settlement Class Member
         Must be filed online or      Home Depot Data Security Breach Settlement
       postmarked by ____, 2017
                     SPONSORED ENTITIES SETTLEMENT AMOUNT CLAIM FORM
Name of Person Filling Out This Form


Your Title in the Financial Institution


Mailing Address


City                                                                                State        Zip Code



Daytime Phone
                     —               —

E-Mail Address (if provided, we will communicate primarily by email about your claim)




CERTIFICATION OF PAYMENT CARDS: Please complete all questions below:

1. Is your financial institution the issuer of one or more payment cards that were identified in any of the alerts below?
   (Check All Applicable Boxes Below.)

    If you check “YES,” state how many payment card accounts your financial institution issued that were identified in the
    referenced alert(s). For purposes of completing this form, please note that a payment card number can have only
    one corresponding payment card account, even if your financial institution issued multiple payment cards bearing the
    card number.


           MasterCard alert(s) in the ADC3868-US-14 series, the ADC3869-US-14 series,                   YES          NO
           or the ADC3871-US-14 series

                                      Number of Issued Accounts Identified in These Alerts:


If you are unable to answer YES to Question 1 then your financial institution is not eligible for
compensation as a Sponsored Entity. However, your financial institution may be entitled to
compensation from the Settlement Fund if you submit a Settlement Fund Claim Form.

                         If you answered “YES” to any part of question 1, please proceed.

2. Is your financial institution an independent sponsored issuer of its sponsor that does not share a corporate affiliation
   with the sponsor? If so, please check “YES” in the box below. If your financial institution is not an independent
   sponsored issuer or shares a corporate affiliation with its sponsor, please check “NO” in the box below.
Questions? Call 1-877-805-8780 toll free, or visit HomeDepotBankSettlement.com                                      Page 2
       Must be filed online or             Home Depot Data Security Breach Settlement
     postmarked by ____, 2017
                   SPONSORED ENTITIES SETTLEMENT AMOUNT CLAIM FORM


           Is your financial institution an independent sponsored issuer of its sponsor that does not share a corporate
           affiliation with the sponsor?          YES        NO



 If you answer NO to Question 2 then your financial institution is not eligible for compensation as
 a Sponsored Entity. However, your financial institution may be entitled to compensation from
 the Settlement Fund if it issued any compromised payment cards that are not subject to a
 release and you submit a Settlement Fund Claim Form.

 3. Did your financial institution receive payment in connection with an Alternative Recovery Offer under MasterCard’s
    ADC program and under which its sponsor released your financial institution’s legal claims against Home Depot
    relating to any of the payment cards identified in response to Question 1?

          Did your financial institution receive payment in connection with an Alternative Recovery Offer under
          MasterCard’s ADC program?              YES         NO




 If your answer to Question 3 is “NO,” your financial institution is not eligible to receive
 compensation as a Sponsored Entity. However, your financial institution may be entitled to
 compensation from the Settlement Fund if it issued any compromised payment cards that are
 not subject to a release and you submit a Settlement Fund Claim Form.

 SIGN CLAIM FORM
 By submitting this Sponsored Entity Claim Form, the above-named Settlement Class Member certifies that the
 information provided is true and correct. The above-named Settlement Class Member further certifies that, while it
 accepted money from MasterCard in connection with the Alternative Recovery Offer under MasterCard’s ADC Program,
 it did not have sufficient time or information to appropriately consider the Alternative Recovery Offer when it was
 originally presented with it. The above-named Settlement Class Member understands that this claim form may be
 subject to audit, verification, and Court review.


 Signature of Duly Authorized Representative of Settlement Class Member             Date


 Print Name                                                                         Title

                                            CLAIM SUBMISSION REMINDERS

• You may submit your Claim Form through the website at HomeDepotBankSettlement.com.
• Please keep a copy of this Claim Form if submitting by mail.

 Questions? Call 1-877-805-8780 toll free, or visit HomeDepotBankSettlement.com                               Page 3
     Must be filed online or       Home Depot Data Security Breach Settlement
   postmarked by ____, 2017
                   SPONSORED ENTITIES SETTLEMENT AMOUNT CLAIM FORM
• Claims must be completed and submited through the website by ___, 2017, or mailed so they are
  postmarked, by ____, 2017.
• If filing a paper form, return the form to:
       Mail:                                                Courier:
       Home Depot Data Breach Settlement                    Home Depot Data Breach Settlement
       ADDRESS                                              ADDRESS
